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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

DEMAN DATA SYSTEMS, LLC, a Florida
limited liability company; FLORIDA
SOFTWARE SYSTEMS CORPORATION,
a Delaware corporation; FLORIDA
SOFTWARE SYSTEMS, INC., a Florida
corporation; and, NORMAN R. DOBIESZ,
                                                  CASE NO. 8:12-CV-02580-SCB-EAJ
        Plaintiffs,

vs.

MARC S. SCHESSEL, PRIMROSE
SOLUTIONS, LLC, a Delaware Corporation,
and JOHN DOE GROUP #1

        Defendants.
                                              /

       DEFENDANT PRIMROSE SOLUTIONS, LLC’S ANSWER AND AFFIRMATIVE
      DEFENSES TO PLAINTIFFS’ SECOND AMENDED COMPLAINT FOR DAMAGES
                           AND EQUITABLE RELIEF

         Defendant, PRIMROSE SOLUTIONS, LLC (“Primrose Solutions) answers the Second

Amended Complaint of Plaintiffs’, DEMAN DATA SYSTEMS, LLC (“DDS”), FLORIDA

SOFTWARE SYSTEMS CORPORATION (“FSS”), and FLORIDA SOFTWARE SYSTEMS,

INC. (“FSS Florida”) (collectively, “Plaintiffs”) as follows:


                                        Jurisdiction and Parties

         1.      Admit that Plaintiff, Deman Data System, LLC, is a limited liability company

duly formed and existing in the State of Florida, otherwise denied.

         2.      Without knowledge and therefore denied.

         3.      Without knowledge and therefore denied.

         4.      Admit only that Norman Dobiesz is an individual with an office for business

located in Manatee County, Florida, otherwise denied.
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        5.      Denied that Schessel has an office in Hillsborough County, Florida and without

knowledge as to whether Schessel holds or formerly held one-third of the membership units of

FSS-FL. Admit Schessel held one-third of the membership units of DDS prior to his termination

of employment, but Schessel contends he still owns the one-third of the membership units of

DDS. Otherwise admitted.

        6.      Admitted.

        7.      There is no good faith basis to plead the claim under the Computer Fraud and

Abuse Act, therefore, denied.

        8.      The conduct alleged here is denied. Therefore, the allegations of paragraph 8 are

denied in their entirety.

                                      General Allegations

                (The Proprietary Software, Confidential Information, Trade Secrets
                and Legitimate Business Interests of FSS, FSS Florida, and DDS)

        9.      Denied.

        10.     Denied.

        11.     Admitted that DDS has provided certain data processing services utilizing the

certain software created for use in the healthcare industry (the “Software”.) Admitted that DDS

has purported to provide licenses to the others to utilize the Software. Otherwise denied.

        12.     Admitted that the Software has been modified since 2003. Admitted that the DDS

utilizes the Software as part of an offering to DDS customers to address issues related to supply

chain management and optimization. Otherwise denied.

        13.     Denied.

        14.     Denied.




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          15.   Without knowledge as to the content of the DDS licenses agreements and

therefore denied.

          16.   Denied.

          17.   Denied.

          18.   Denied.

          19.   Denied.

                                 (Schessel’s Intentional Misconduct)

          20.   Denied that Schessel “joined” as an employee. Schessel joined DDS as a Founder

and Owner of DDS and became employed by his company as its president. Admit that Schessel’s

responsibilities included sales, marketing and revenue generation. Otherwise denied.

          21.   Admit that Schessel executed an agreement. Otherwise denied.

          22.   Denied.

          23.   Denied.

          24.   Admit that Marc Schessel was President and is a Co-Owner of DDS. Otherwise

denied.

          25.   Denied.

          26.   Denied.

          27.   Denied.

          28.   Admit that on or about July 30, 2012, DDS notified Schessel in writing that his

employment was terminated for cause. Otherwise denied.

          29.   Denied.

          30.   Denied.

          31.   Denied.




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       32.     Denied. Contrary to the allegations made by Plaintiffs in the Second Amended

Complaint, no civil theft demand as required under Florida Statutes Section 772.11 was ever

served by Plaintiffs on Defendants Marc Schessel and/or Primrose.

       33.     Without knowledge and therefore denied.


                                 COUNT I -
                 COMPUTER FRAUD AND ABUSE ACT, 18 U.S.C. & 1030
                               (All Defendants)

       34.     Defendant Primrose Solutions realleges and incorporates by reference it’s

responses to Paragraph Nos. 1-33 as if fully set forth herein.

       35.     Denied.

       36.     Denied.

       37.     Denied.

       38.     Denied.

       39.     Denied

       40.     Denied.

       41.     Denied.

       42.     Denied.

       43.     Denied.

       WHEREFORE, Defendant Primrose Solutions respectfully requests that this Court enter

judgment in its favor, and for costs, attorneys’ fees, and any such further relief as this Court

deems appropriate.

                                     COUNT II –
                        (MISAPPROPRIATION OF TRADE SECRETS)

       44.     Defendant Primrose Solutions realleges and incorporates by reference it’s

response to Paragraph Nos. 1-33 as if fully set forth herein.


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       45.     Admitted that this purports to be such an action but otherwise denied.

       46.     Denied.

       47.     Denied.

       48.     Denied.

       49.     Denied.

       50.     Denied.

       51.     Denied.

       52.     Denied.

       WHEREFORE, Defendant Primrose Solutions respectfully requests that this Court enter

judgment in its favor, and for costs, attorneys’ fees, and any such further relief as this Court

deems appropriate.

                               COUNT III –
                 ENFORCEMENT OF RESTRICTIVE COVENANTS -
              (TEMPORARY AND PERMANENT INJUNCTIVE RELIEVE)

       53. -- 60.      This Count is not brought against Defendant Primrose Solutions and,

therefore, no response is required.

                                      COUNT IV –
                      (CIVIL THEFT, § 772.11, FLORIDA STATUTES)

       61.     Defendant Primrose Solutions realleges and incorporates by reference it’s

response to Paragraph Nos. 1-33 as if fully set forth herein.

       62.     Denied.

       63.     Denied.

       64.     Denied.

       65.     Denied.

       66.     Denied.



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       67.     Admitted that such remedies appear to be sought. Otherwise denied.

       WHEREFORE, Defendant Primrose Solutions respectfully requests that this Court enter

judgment in its favor, and for costs, attorneys’ fees, and any such further relief as this Court

deems appropriate.

                                       COUNT IV –
                                (TORTIOUS INTERFERENCE)

       68.     Defendant Primrose Solutions realleges and incorporates by reference it’s

responses to Paragraph Nos. 1-33 as if fully set forth herein.

       69.     Admit that DDS is a party to certain contracts. Otherwise, without knowledge,

and therefore denied.

       70.     Denied.

       71.     Denied.

       72.     Denied.

       WHEREFORE, Defendant Primrose Solutions respectfully requests that this Court enter

judgment in its favor, and for costs, attorneys’ fees, and any such further relief as this Court

deems appropriate.

                                         COUNT VI –
                                    (CIVIL CONSPIRACY)


       73.     Defendant Primrose Solutions realleges and incorporates by reference it’s

responses to Paragraph Nos. 1-33 and 69 through 72 as if fully set forth herein.

       74.     Denied.

       75.     Denied.




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       WHEREFORE, Defendant Primrose Solutions respectfully requests that this Court enter

judgment in its favor, and for costs, attorneys’ fees, and any such further relief as this Court

deems appropriate.

                                       COUNT VII –
                               (BREACH OF FIDUCIARY DUTY)

       76. -- 80.      This Count is not brought against Defendant Primrose Solutions and,

therefore, no response is required.

                                         COUNT VIII –
                                           (FRAUD)

       81. -- 89.      This Count is not brought against Defendant Primrose Solutions and,

therefore, no response is required.

                                   COUNT IX –
                      (BREACH OF EMPLOYMENT AGREEMENTS)

       83. – 92.       This Count is not brought against Defendant Primrose Solutions and,

therefore, no response is required.

                                          COUNT X –
                                      (PROMISSORY NOTE)

       93. – 97.       This Count is not brought against Defendant Primrose Solutions and,

therefore, no response is required.

       WHEREFORE, Defendant, Primrose Solutions, respectfully requests that this Court enter

judgment in its favor, and for costs, attorneys’ fees, and any such further relief as this Court

deems appropriate

                                 AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

       The Second Amended Complaint fails to state a claim against Primrose Solutions upon

which relief may be granted.


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                               SECOND AFFIRMATIVE DEFENSE

          At all material times Schessel has been an owner of DDS and as owner, has the right and

permission to access the DDS computers, software used on the computers and data used by DDS.

                                 THIRD AFFIRMATIVE DEFENSE

          Plaintiffs’ claims for violations of the Computer Fraud and Abuse Act are barred by the

two year statute of limitations provided for in 18 U.S.C. §1030(g) to the extent the claims are

based upon alleged violations occurring more than two years before Plaintiffs filed this action.

                               FOURTH AFFIRMATIVE DEFENSE

          Plaintiffs’ claims for equitable relief are barred by laches.

                                 FIFTH AFFIRMATIVE DEFENSE

          DDS lacks standing to assert claims against Primrose Solutions for alleged violations of

the Computer Fraud and Abuse Act for alleged access of an FSS Florida computer.

                                 SIXTH AFFIRMATIVE DEFENSE

          FSS Florida lacks standing to assert claims against Primrose Solutions for alleged

violations of the Computer Fraud and Abuse Act for alleged access of a DDS computer.

                               SEVENTH AFFIRMATIVE DEFENSE

          Primrose Solutions did not exist during most of the period in which the alleged

unauthorized access is alleged to have occurred and cannot be liable for any such unauthorized

access.

                                EIGHTH AFFIRMATIVE DEFENSE

          Plaintiffs’ claim for violations of the Florida Trade Secret Act are barred by the three

year statute of limitations provided for in Section 688.007 Florida Statutes to the extent the claim




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is based upon alleged violations occurring more than three years before Plaintiffs filed this

action.

                                NINTH AFFIRMATIVE DEFENSE

          DDS lacks standing to assert claims against Primrose Solutions for alleged

misappropriations and civil theft of trade secrets of FSS or FSS Florida.

                                TENTH AFFIRMATIVE DEFENSE

          FSS Florida lacks standing to assert claims against Primrose Solutions for alleged

misappropriations and civil theft of trade secrets of DDS or FSS.

                             ELEVENTH AFFIRMATIVE DEFENSE

          FSS lacks standing to assert claims against Primrose Solutions for alleged

misappropriations and civil theft of trade secrets of DDS or FSS Florida.

                              TWELVTH AFFIRMATIVE DEFENSE

          Plaintiffs’ claims are barred, in whole or in part, by their failure to mitigate damages and

the doctrine of avoidable consequences.

                            THIRTEENTH AFFIRMATIVE DEFENSE

          As to the claim of tortious interference, the acts of Primrose are privileged and were

taken to safeguard or promote its own financial interest.

                           FOURTEENTH AFFIRMATIVE DEFENSE

          To the extent there are any trade secret rights in the data enrichment process or in the

Software alleged in the Second Amended Complaint, those rights belong in whole or in part to

Schessel who created the process and the specifications for the Software before forming DDS.




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                            FIFTEENTH AFFIRMATIVE DEFENSE

        Primrose is entitled to a set-off as set forth in the Counterclaim against any damages that

 may be awarded against it.

        Defendant Primrose Solutions reserves the right to supplement its Answer and

 Affirmative Defenses with any additional affirmative defense(s) the basis for which may be

 revealed through discovery. Primrose Solutions also demands its attorneys’ fees pursuant to the

 statutes sued upon by Plaintiffs.

                                     JURY TRIAL DEMAND

    Defendant Primrose Solutions demands a trial by jury for all issues so triable.

 Dated: September 12, 2013

                                      By: /s/ G. Donovan Conwell, Jr.
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 12th day of September, 2013, I electronically filed the

 foregoing using the Court’s CM/ECF system which will send a Notice of Electronic Filing to the

 following:


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        I FURTHER CERTIFY that I served via U.S. Mail a true and accurate copy of the

 foregoing to the following non-CM/ECF participants: None




                                            /s/ G. Donovan Conwell, Jr.
                                            Attorney




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